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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

CHRISTOPHER PAUL PEARSON                  :
and MARSHA ANNE PEARSON,                  :
     Plaintiffs,                          :      CASE NO.
                                          :      1:15-cv-03849-AT-WEJ
    v.                                    :
                                          :
DR. WILLIAM WININGER, SR.,                :
individually and as an officer            :
of the King’s Way Baptist                 :
Church, Inc., and the King’s Way          :
Christian School, JOE HAYMAN,             :
and as an officer of the King’s           :
Way Baptist Church, Inc., DR. RAY         :
CONWAY, SR., individually and as          :
an officer of the King’s Way              :
Baptist Church, Inc., and as              :
Administrator of the King’s Way           :
Christian School, THE KING’S WAY          :
BAPTIST CHURCH, INC., and THE             :
KING’S WAY CHRISTIAN SCHOOL,              :
     Defendants.                          :

                 CERTIFICATE OF INTERESTED PERSONS AND
                     CORPORATE DISCLOSURE STATEMENT

  (1)    The undersigned counsel of record for a party to this

action certifies that the following is a full and complete list

of all parties in this action, including any parent corporation

and any publicly held corporation that owns 10% or more of the

stock   of   a   party:     Christopher       Paul   Pearson,   Marsha   Anne

Pearson, Dr. William Wininger, Sr., Joe Hayman, Dr. Ray Conway,

Sr., The King’s Way Baptist Church, Inc., and The King’s Way

Christian School.


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  (2)    The undersigned further certifies that the following is a

full    and   complete    list    of   all   other   persons,     associations,

firms, partnerships, or corporations having either a financial

interest      in   or   other   interest     which   could   be   substantially

affected by the outcome of this particular case:              None.

  (3)    The undersigned further certifies that the following is a

full and complete list of all persons serving as attorneys for

the parties in this proceeding:                Joseph H. Fowler, Erica T.

Taylor, J. Mac C. Pilgrim, Daniel E. Rice, George M. Weaver, and

Eric P. Wilborn.



                                       Respectfully Submitted,

                                       THE PILGRIM LAW GROUP, LLC

                                       _/s/ Daniel E. Rice_______
                                       J. Mac C. Pilgrim, Bar No. 141955
                                       Daniel E. Rice, Bar No. 183746
                                       Attorneys for Defendant Wininger
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CHRISTOPHER PAUL PEARSON                   :
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Baptist Church, Inc., and as               :
Administrator of the King’s Way            :
Christian School, THE KING’S WAY           :
BAPTIST CHURCH, INC., and THE              :
KING’S WAY CHRISTIAN SCHOOL,               :
     Defendants.                           :

                         CERTIFICATE OF SERVICE

    I     hereby     certify    that       on   November   11,    2015,   I

electronically filed the CERTIFICATE OF INTERESTED PERSONS AND

CORPORATE DISCLOSURE STATEMENT with the Clerk of Court using the

CM/ECF system which will automatically send email notification

of such filing to the following attorneys of record:

    Joseph H. Fowler

    Erica T. Taylor

    George M. Weaver

    Eric P. Wilborn
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                                 Respectfully Submitted,

                                 THE PILGRIM LAW GROUP, LLC

                                 _/s/ J. Mac C. Pilgrim___
                                 J. Mac C. Pilgrim, Bar No. 141955
                                 Daniel E. Rice, Bar No. 183746
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